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                           UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT



 LUIS GARCIA                                    :
                                                :
                                                : NO. 3:16CV791(VAB)
 v.                                             :
                                                :
 LAW OFFICES HOWARD LEE SCHIFF,                 :
 P.C.                                           :


                                        JUDGMENT

       This matter came on for trial before the Court, held before the Honorable Victor A.

Bolden, United States District Judge; and

       The Court having considered the full record of the case including applicable

principles of law, and having issued a memorandum of decision and order directing that

judgment enter for Mr. Garcia and awards $500 in statutory damages, but denies any

other relief, except for attorney’s fees and costs; it is hereby

       ORDERED, ADJUDGED and DECREED that judgment shall be and is hereby

entered in favor of plaintiff Luis Garcia.

       Dated at Hartford, Connecticut, this 16th day of August, 2019.

                                             ROBIN D. TABORA, Clerk
                                             By /s/LL
                                              Loraine LaLone
                                              Deputy Clerk


EOD: 8/16/19
